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         EXHIBIT A
Plaintiffs’ Notice of Supplemental Authority
               Doe et al. v. Noem et al.
           1:25-cv-10495-IT (D. Mass.)
               Case: 25-1313, 03/25/2025, DktEntry: 28.1, Page 1 of 2
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                    UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                        MAR 25 2025
                                                                     MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
PACITO; et al.,                                  No. 25-1313
                                                 D.C. No. 2:25-cv-00255-JNW
             Plaintiffs - Appellees,             Western District of Washington,
                                                 Seattle
 v.
                                                 ORDER
DONALD J. TRUMP, in his official
capacity as President of the United States; et
al.,

             Defendants - Appellants.

Before: SILVERMAN, BADE, and DE ALBA, Circuit Judges.

      The motions (Docket Entry Nos. 9, 16) for leave to file amicus briefs in

support of the emergency motion for a stay are granted.

      The emergency motion (Docket Entry No. 5) to stay the district court’s

February 28, 2025 order is granted in part, and denied in part.

      The motion is denied to the extent the district court’s preliminary injunction

order applies to individuals who were conditionally approved for refugee status by

the United States Citizenship and Immigration Services before January 20, 2025.

Executive Order No. 14163 does not purport to revoke the refugee status of

individuals who received that status under the United States Refugee Admissions

Program prior to January 20, 2025.
              Case: 25-1313, 03/25/2025, DktEntry: 28.1, Page 2 of 2
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      In all other respects, the district court’s February 28, 2025 preliminary

injunction order is stayed. See Trump v. Hawaii, 585 U.S. 667, 684 (2018)

(explaining that 8 U.S.C. § 1182(f) “exudes deference” to the President and “vests

[him] with ample power to impose entry restrictions in addition to those elsewhere

enumerated in the INA” (citation and internal quotation marks omitted)); Nken v.

Holder, 556 U.S. 418, 434 (2009) (defining standard for stay pending appeal).

      The existing briefing schedule remains in effect.

      The clerk will place this appeal on the next available calendar. See 9th Cir.

Gen. Ord. 3.3(f).




                                        2                                   25-1313
